Case 2:24-md-03127-SHL-cgc Document1 Filed 10/04/24 Page1lof3 PagelD1

Case MDL No. 3127 Document 88 Filed 10/04/24 Pageiof3

FILED? -y,,_J

UNITED STATES JUDICIAL PANEL OCT - 4 2024
on
MULTIDISTRICT LITIGATION Wendy R Olver, Clerk
U.S. District Court

W.D. OF TN, Jackson

IN RE: EVOLVE BANK & TRUST CUSTOMER SHEERS H.LaMAS
DATA SECURITY BREACH LITIGATION MDL No. 3127

TRANSFER ORDER

Before the Panel:* Plaintiffs in fifteen Western District of Tennessee actions move under
28 U.S.C. § 1407 to centralize this litigation in that district. This litigation consists of 22 actions
pending in three districts, as listed on Schedule A. In addition, the parties have informed the Panel
of fourteen potentially-related actions pending in three districts. '

All responding plaintiffs and defendant Evolve Bank & Trust (Evolve) unanimously
support centralization, with the sole disagreement limited to selection of the transferee district.
Plaintiffs in eighteen actions, including movants, request the Western District of Tennessee.
Plaintiffs in ten actions request the Eastern District of Arkansas. Evolve requests either the
Western District of Tennessee or the Eastern District of Arkansas. One plaintiff requests the
Western District of Oklahoma or, alternatively, the Eastern District of Arkansas.

On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization in the Western District of Tennessee will
serve the convenience of the parties and witnesses and promote the just and efficient conduct of
this litigation. These putative class actions present common factual questions concerning an
alleged data security breach Evolve announced in June 2024 that led to the release of the personal
information of over seven million consumers on the dark web.* The common factual questions
include how and when the breach occurred, Evolve’s data security practices with respect to
safeguarding personal information, the investigation into the breach, how and when Evolve
provided notice of the breach, and the nature of the alleged damages. Centralization will eliminate
duplicative discovery; prevent inconsistent pretrial rulings, including with respect to class

* Judge Karen K. Caldwell did not participate in the decision of this matter. Additionally, one or
more Panel members who could be members of the putative classes in this litigation have
renounced their participation in these classes and have participated in this decision.

' These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.

2 The personal information allegedly compromised by the breach includes full names, dates of
birth, Social Security numbers, and financial account information.
Case 2:24-md-03127-SHL-cgc Document1 Filed 10/04/24 Page2of3 PagelD2

Case MDL No. 3127 Document 88 Filed 10/04/24 Page 2 of3

certification and expert witness issues; and conserve the resources of the parties, their counsel,
and the judiciary.

The Western District of Tennessee is an appropriate transferee district for this litigation.
Evolve’s counsel represented at oral argument that its headquarters are located in this district and
that its “main office” is in Arkansas. But that main Arkansas office and another office in
Arkansas are nearest the Western District of Tennessee’s courthouse, which suggests that the
district offers a relatively convenient and accessible transferee forum. Most of the related
actions are pending in this district, and it has broad support from both plaintiffs and Evolve.
Judge Sheryl H. Lipman presides over nine actions. She is an experienced transferee judge, and
we are confident that she will steer this litigation on a prudent and expeditious course.

IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Western District of Tennessee are transferred to the Western District of Tennessee and, with
the consent of that court, assigned to the Honorable Sheryl H. Lipman for coordinated or
consolidated pretrial proceedings.

PANEL ON MULTIDISTRICT LITIGATION

Volle.h sb best

Nathaniel M. Gorton

Acting Chair
Matthew F. Kennelly David C. Norton
Roger T. Benitez Dale A. Kimball

Madeline Cox Arleo
Case 2:24-md-03127-SHL-cgc Document1 Filed 10/04/24 Page3o0f3 PagelD3

Case MDL No. 3127 Document 88 Filed 10/04/24 Page 3 of 3

IN RE: EVOLVE BANK & TRUST CUSTOMER
DATA SECURITY BREACH LITIGATION MDL No. 3127

SCHEDULE A

Eastern District of Arkansas

QUIATES v. EVOLVE BANK & TRUST, C.A. No. 3:24-00114
STARLING v. EVOLVE BANK & TRUST, C.A. No. 4:24-00549

STIRITZ v. EVOLVE BANK & TRUST, C.A. No. 4:24-00550

FRANZ, ET AL. v. EVOLVE BANK & TRUST, C.A. No. 4:24-00566
BUCHANAN, ET AL. v. EVOLVE BANK & TRUST, C.A. No. 4:24-00586

Western District of North Carolina

GASKINS v. EVOLVE BANK & TRUST, C.A. No. 3:24—00654

Western District of Tennessee

MEADOWS v. EVOLVE BANK & TRUST, C.A. No. 2:24-02450
SHEVCHENKO v. EVOLVE BANK & TRUST, C.A. No. 2:24—02458
COLBY v. EVOLVE BANK & TRUST, C.A. No. 2:24-02461
MASON v. EVOLVE BANK & TRUST, C.A. No. 2:24-02463
MCLAUGHLIN v. EVOLVE BANK & TRUST, C.A. No. 2:24-02464
PAYNE v. EVOLVE BANK & TRUST, C.A. No. 2:24—-02466
WEBSTER v. EVOLVE BANK & TRUST, C.A. No. 2:24-02467
ADEWOLE v. EVOLVE BANK & TRUST, C.A. No. 2:24-02470
BIRON v. EVOLVE BANK & TRUST, C.A. No. 2:24-02473
KOVALCZIK v. EVOLVE BANK & TRUST, C.A. No. 2:24-02479
KATSNELSON v. EVOLVE BANK & TRUST CORPORATION, C.A. No. 2:24-02487
RAYAM v. EVOLVE BANK & TRUST, C.A. No. 2:24-02494

HUFF v. EVOLVE BANK & TRUST, C.A. No. 2:24-02495
PERRIER v. EVOLVE BANK & TRUST, C.A. No. 2:24-02506
PRYSTALSKI v. EVOLVE BANK & TRUST, C.A. No. 2:24-02511
HOHLER v. EVOLVE BANK & TRUST, C.A. No. 2:24-02518

CERTIFIED TRUE COPY
WENDY R. OLIVER, CLERK

(- Aen a!

DEPUTY CLERK

